Case 3:17-cv-00946-JPG-RJD Document13 Filed 01/24/18 Page1of15 Page ID #85

IN THE UNITED STATES DISTRICT COURT FILED
FOR THE SOUTHERN DISTRICT OF ILLINOIS
JAN 2 4 2018

REGINALD YOUNG,

CLERK, U.S. DISTRICT COURT
SOUTHERN DISTRICT OF ILLINOIS

Plaintiff, EAST ST LOUIS OFFICE

Vv. Case No. 17-cv-00946-JPG-RJD

UNITED STATES OF AMERICA,

Defendant.

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PLAINTIFF'S RESPONSE TO THE UNITED STATES MOTION
TO DISMISS AND OR MOTION FOR SUMMARY JUDGMENT

 

COMES NOW Reginald Young the Plaintiff, pro se and respectfully files this Reply to the
United Stales Motion to Dismiss to Plaintiffs Federal Tort Claim Act pursuant to 28 U.S.C. Sections
1 346(B)(1), 28 U.S.C.S, 2680 (A). The Plaintiff stands firmly on all points raised in his initial Federal
Tort Claim. This Reply will address only the points raised in the United States answer/response

that requires a reply.

THE PLAINTIFF STATES AS FOLLOWS:

 

Contrary to the United Stales Motion to Dismiss based on Plaintiffs alleged failure to comply
with 735 ALCS - 5/2-622(a) requirements, the Plaintiff states that he has complied, and thus, the
United Stales motion lo dismiss should be “ denied ".

On October 26, 2017 this Honorable Cour! after preliminary review of the Plaintiff's Complaint
pursuant lo 28 U.S.C. Section 1915(a), the Court delermined that Count 1, against the Uniled States
survives screening clearly based upon the content's of the complaint filed by the Plaintiff. The Court
also “granied " and additional 90 days to file wrilten report(s) after receiving medical records

requested from the respondent who has not complied within 60 days of receiving such request.

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The Plaintiff finally received the additional medical reports from Centralla Vision Center
on December 22, 2017, and also from the Swansea Vision Center on January 3, 2018. Furthermore
the record is clear that the Plaintiff is under the " custodial care " of the Federal Bureau of Prison
and contained in the Plaintiff's initial filing provided medical records indicating that
Dr. Douglas Kruse, MD/CD was the acting physician of record with the BOP at FCI Greenville, and
, Dr. Alan Montgomery was the visiting O.D. for FC! Greenville. It should be duly noted that

Dr. F. Ahmed, MD/CD is the current acting physician at FCI Greenville. _

Analysis

 

Under Illinois law, when a plaintiff is seeking damages for injuries "by reason of medical, hospital, or
other healing art malpractice" the plaintiff's attorney must file an affidavit attesting that the attorney
"has consulted and reviewed the facts of the case with a health care professional” who has |
determined in a written report . . . that there is a reasonable and meritorious cause for the filing of
such action... ." 735 ILCS 5/2-622(a). The attorney must attach the health care professional s report
to the affidavit. /d. Illinois courts liberally construe section 2-622(a) reports in favor of plaintiffs. See
Mueller v. N. Suburban Clinic, Ltd., 299 Ill. App. 3d 568, 701 N.E.2d 246, 250, 233 Ill. Dec. 603 (Hil.
App. Ct. 1998).

The Plainuiff stales lo avoid Dismissal for Failure to Comply with Section 2-622(a)(1) which
is designed to reduce the number of frivolous medical malpractice lawsuits at an early stage
before litigation expenses mount. This Court in it's decision on October 26, 2017 determined
this fact. See, SULLIVAN -v- EDWARDS HOSP., 209 N.E. 2d. 645, 282 ILL Dec 348 (2004).

The reporVcomplaint " establishes " only that the Plaintiff has meritorious claim and

(herefore the Plaintiff has supplied a short and brief outline regarding the reasonable grounds
for pursuing this action. The medical reports and affidavit's the Plaintiff has submitted are
liberally contrived in favor of the Plaintiff. See, CUTLER -v- NORTHWEST SUBURBAN COMMUNITY
HOSPITAL., INC. 405 ILL App. 3d. 1052, 1064, 939, N.E. 2d. 1032, 345 ILL Dec 852 (2010) and
SHERROD -v- LINGLE, 223 F. 3d. 605, 613-14 (7th. Cir. 2000). Thus, the Plaintiff stales he has

complied as required pursuant 2-622(a)(1) and when " liberally contrived " is’ sufficient.

(2)
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The Plaintiff turns lo BURNS -v- WILLIAMSON, No. 11-3020, 2012 U.S. Dist. Lexis 97415

 

2012 WL. 2872475 (C.D. ILL July 12, 2012) as persuasive authority, that his attached reports
does salisfy Section 2-622(a)'s report requirement. In BURNS, the Plaintiff brought claims
against an ambulance service provider. The Plaintiff's report did not specifically address

. the ambulance service provider's direct negligence. Id. The Court, however, found that the
report was " sufficient" lo support Plaintiff's liability claims. Id. Specifically, the Court
concluded the report was sufficient because the Plaintiff had " minimally complied " with
Section 2-622(A), 2012 U.S. Dist Lexis 97415 (WL.-(0, 6), see also, ALTHOFF -v- BRANNON

2015 U.S. Dist. Lexis 11925 (7th. Cir. 2015) and STEINBERG -v- DUNSETH 276 ILL App. 3d. 1038,

 

1049, 658, N.E. 2d., 1239, 213 ILL Dec 2018 (1995). .
. As explained in STEINBERG, 276 ILL App. 3d, @ 1049, the Section 2-622 report is a
" licket " which the Plaintiff must possess in order to file his complaint. The Plaintiff uses
the same explanation and altest's there is ample documentation contained in the Plaintiffs
Complaint/report for a reasonable and meritorious claim against the United States. There
has al least been " minimal compliance with Section 2-622, which would satisfy Section 2-622
to support his claim against the United Stales.

In ALTHOFF -v- BRANNON, 2015 U.S. Dist Lexis 11925 (7th Cir. 2015) the Court addressed
BURNS, in which the Court concluded the report was sufficient because the Plaintiff had
minimally complied with Section 2-622(a), 2012 U.S. Dist lexis 97415 (WL. @ *6). The Plaintiff
in his initial fling detailed and provided medical encounters with FCI Health Services. The Plaintiff
also provided some information from the Vision Centers from Centralla and Swansea. To further
support his claim the Plaintiff requested medical reports " directly " from both of the above mentioned
Vision centers which he " recently " received. (See, Exhibit's and Affidavit's enclosed) Furthermore
the Plaintiff received reports from Dr. Maher, M.D. and Dr. Brine, M.D. clearly showing that the

Plaintiff was diagnosed in 2008, and that the Plaintiff needed O.D. and O.S. surgery.

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OBJECTIONS TO DECLARATION OF JEFFERY NOTT
The Plaintiff objects and asserts that the United States provided a declaration from
Jeffery Nott, Medical Records Administration Specialist, FCI Greenville, which is " clearly "
"outside " the scope of this cause of action.
CONCLUSION
The record is clear in 2008 the Plaintiff was diagnosed with " severe " cataracts in both eye's (O.D. &

O.S. ) the Plaintiff had corrective surgery on his O.D. in 2009. As of this date the Plaintiff's vision

O.S. has drastically diminished to the point thal any spectacles could not improve his vision, basically
blind in one eye. The Plaintiff claims he " did not leave his Civil Rights for proper health care

" outside the gates" of FCI Greenville.

If any members of this Court or members of the United States were faced with the same situation
as the Plaintiff, would they allow themselves's to wait over " NINE " years to have that corrective surgery,
and if this case goes to trial would the jury ? The Plaintiff think's NOT !
Additionally this Court has discretion to allow the Plaintiff an opportunity to Amend his Complaint
lo Camply with Section 2-622, although the Plaintiff feels that he has satisfied Section 2-622 to
proceed with this action. The Plaintiff respectfully urges this Honorable Court to " deny ” the United States

Motion to Dismiss and or Molion for Summary Judgment.

lly submitted on this “oy of Qos, LOS
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Mr. on Young # soared, 6
FCI Greenville

P.O. Box 5000

Greenville, IL 62246

PRO SE REPRESENTATION

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CERTIFICATION OF SERVICE

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been mailed First Class, prepaid postage on this (7 day of ar to the parties
listed in this document, and noted below by hand delivering alpbpy of tié same to prison
officials as FC] Greenville mailroom for mailing through the internal Legal Mail System. This

instrument has been mailed to the United States District Court and the United States
Attorney.

2 Ljnwil Uae

 Keginald Young # sobel 066
FCI Greenville
P.O. Box 5000
Greenville, IL 62246
PRO SE REPRESENTATION

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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

REGINALD YOUNG,
Plaintiff,

v. Case No. 17-cv-00946-JPG-RJD

UNITED STATES OF AMERICA,

Defendant.

Nee ee ee Ne ee

AFFIDAVIT of REGINALD YOUNG,

 

January 11, 2018

| Reginald Young, the Plaintiff states as follows:

On or about April 4, 2011 | met wilh Dr. Jeffery Maher, M.D. (Centralia-Vison Center) regarding
my vision concern's. During the content of this meeting, Dr. Maher discussed and diagnosed my progressive
loss af vision. It was his professional opinion and diagnoses that he recommended and was needed
O-S. calaract surgery.

Gfegfville, IL 62246

 

SWORN AND SUBSCRIBED lo before me the undersigned, a person known to
REGINALD YOUNG # 50081-066, who swears and declares under penalty of
perjury pursuant to 28 U.S.C. Section 1746 that he has read the above
document and that the facts slated therein are true and correct.

On this f 7. day of January, 2018

 

Notary

 

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THE SURGERY CENTER of CENTRALIA
6%

 

A Community Care Partner

1045 Martin Luther King Dr.
Centralia, Illinois 62801

 

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

REGINALD YOUNG,
Plaintiff,

Mi. Case No. 17-cv-00946-JPG-RJD

UNITED STATES OF AMERICA,

Defendant.

Nee NO Se es SS OS

AFFIDAVIT of REGINALD YOUNG,

 

January 11, 2018

| Reginald Young, the Plaintiff states as follows:

On or about July 19, 2011 | met with Dr. Jeffery Maher, M.D. (Swansea-Vison Center) regarding
my vision concern's. During the content of this meeting, Dr. Maher discussed and diagnosed my progressive |
loss of vision. It should be noted that in April | also met with Dr. Maher and It was his professional opinion
and diagnoses that he recommended and was needed O.S. cataract surgery. During the July 19th,

consultation the discussion was relaling to the same " Chief Complaint" of past evaluations concerning
Yntinued loss of yision

   

SWORN AND SUBSCRIBED to before me the undersigned, a person known to
REGINALD YOUNG # 50081-066, who swears and declares under penalty of
perjury pursuant to 28 U.S‘C. Section 1746 that he has read the above
document and that the facts staled therein are true and correct.

On this _ | ZL day of January, 2018
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* NAME: Reginald Young
oe
ADDRESS: FCI Greenville PD Box 4000 cusrconnane Nie fn, Cat bit. OS 2 i

Greenville, IL 62246

PHONE: (618) 664-6289, / net: Locatign&d lei pros OoOu Other
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3290 NORTH ILLINOIS ST.
BELLEVILLE, IL 62226

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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

REGINALD YOUNG,
Plaintiff,
Vv.

Case No. 17-cv-00946-JPG-RJD

UNITED STATES OF AMERICA,

Nee NN ee a te

Defendant.

AFFIDAVIT of REGINALD YOUNG,

January 11, 2018

| Reginald Young, the Plaintiff states as follows:

On or about October 27, 2008 | met with Dr. Bart J. Brine, M.D. of the Diseases and Surgery of
the Eye Ophthalmology regarding my vision concern's. During the content of this meeting, Dr. Brine
discussed and diagnosed my progressive loss of vision. It was his professional opinion and diagnoses
that he was unable to improve my vision with spectacles. Furthermore, his diagnoses and impression,
Dr, Braine recommended cataract removal, the OD followed shortly the O.S. And followed up his
son for this, would b¢ visual improvement.

  
 
 

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SWORN AND SUBSCRIBED to before me the undersigned, a person known to
REGINALD YOUNG # 50081-066, who swears and declares under penally of
perjury pursuant to 28 U.S.C. Section 1746 that he has read the above
document and that the facts stated therein are true and correct.

On this ae of January, 2018

 

 

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Case 3:17-cv-00946-JPG-RJD Document 12 Filed 01/24/18" PRGe"FS"S 15 Page tS #97

ANDREW C. PEDERZOLLI, M.D.
BART J. BRINE, M.D.
DISEASES AND SURGERY OF THE EYE
OPHTHALMOLOGY
1059 EAST STATE STREET
SALEM, OHIO 44460

(330) 332-9991
November 3, 2008

Clinical Director
FCI Elkton
Lisbon, OH 44432

#50031 - OV’

Re: Reginald Young
Dear Doctor,

I had the pleasure of examining Reginald Young on October 27, 2008. As you may recall,
Mr. Young is a 48 year old black male who has been complaining about progressive loss
of vision, the OD more so than the OS, over the past couple of years, His past medical
history includes diabetes mellitus.

Acuity is 20/80 OD and 20/60 OS without correction. I am unable to improve his vision
with spectacles. Slit lamp exam is quiet with acquired racial melanosis, There is no
rubeosis. He does have significant posterior subcapsular cataracts in OU. °

Dilated exam is extremely poor secondary to the opacity. However, everything looks to
be flat.

My impression is visually significant cataract OU, for which I do recommend cataract
removal, the OD followed shortly by the OS. The reasons for this, of course, would be
visual improvement and to allow us to better diagnose and treat any diabetic retinopathy.

I hope you find this information useful.

Sincerely, On OMIM YD |

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Bart J. Brine, M.D.
BJB/Asm

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JAN 24. 2038

CLERK, U-S. DISTRICT COL IRT

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